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Attorneys for Plaintiffs

                                UNITED STATES DISTRICT COURT

                                         DISTRICT OF OREGON

                                          EUGENE DIVISION


 HEATHER HUFF and TERRY BLAKELY,                   Case No. 6:17-cv-00223-JR

                           Plaintiffs,             STIPULATED DISMISSAL OF ACTION
                                                   AND PROPOSED ORDER
 v.
                                                   Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii)
 MARION COUNTY HOUSING
 AUTHORITY, a public body corporate and
 politic,

                           Defendant.



       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the parties, by and through their respective

counsel of record, hereby stipulate to the dismissal of this action with prejudice and without fees

or costs awarded to any party.



1–     STIPULATED DISMISSAL OF ACTION AND PROPOSED ORDER
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        DATED: December 20, 2018

                                                                          Respectfully submitted,

                                                                          s/ Emily Rena-Dozier
                                                               Emily Rena-Dozier, OSB #134674
                                                                   Legal Aid Services of Oregon

                                                                       Of Attorneys for Plaintiffs

                                                                            s/ Jeffery J. Matthews
                                                              Jeffery J. Matthews, OSB # 973280
                                                                 Harrang Long Gary Rudnick PC


                                                                      Of Attorneys for Defendant


                                            ORDER

This matter having come before the Court on the parties’ Stipulated Dismissal of Action, it is

HEREBY ORDERED that this action is dismissed with prejudice, without fees or costs awarded

to either party.



DATED: ________________

                                                          _______________________________
                                                         HONORABLE MAGISTRATE JUDGE
                                                                          JOLIE A. RUSSO




2–      STIPULATED DISMISSAL OF ACTION AND PROPOSED ORDER
